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fnldATr

                       UNITED STATES BANKRUPTCY COURT
                                         Northern District of New York

In Re: Debtor(s) (name(s) and address)                           )
Robert Pasinella                                                 )
                                                                 )
xxx−xx−7555                                                      )Case Number: 07−12770−1−rel
PO Box 523                                                       )
Troy, NY 12180                                                   )
                                                                 )
Flora Pasinella                                                  )
                                                                 )
xxx−xx−0594                                                      )
PO Box 523                                                       )Chapter: 13
Troy, NY 12180                                                   )
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                                             FINAL DECREE
The estate of the above named debtor(s) has been fully administered.
IT IS ORDERED THAT:
Andrea E. Celli is discharged as trustee of the estate of the above named debtor(s), and the bond
is cancelled.
The case of the above named debtor(s) is closed.

Albany, NY
DATED: 10/21/11
                                                   BY THE COURT




                                                   Robert E. Littlefield Jr.
                                                   Chief U.S. Bankruptcy Judge
